Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 1 of 41

IN THE UNITED STATES DISTRICT COURT
WESTERN DIVISION OF WASHINGTON

JONES PACIFIC MARITIME, LLC, a
Washington Limited Liability Company,

Zz
Oo

Plaintiff, VERIFIED COMPLAINT
WAHKIAKUM COUNTY, INC., the
SUPERIOR COURT OF WAHKIAKUM
COUNTY, the COUNTY OF COWLITZ,
INC., and the SUPERIOR COURT OF
COWLITZ COUNTY,

Jury Trial [Yes]
Defendants.

el i ed a ad ae ee ee ea

 

1.0 INTRODUCTION
1.1 This complaint is being brought for relief for the deprivation of the due
process rights held by plaintiff Jones Pacific Maritime, LLC, which resulted in

substantial damages. The accounts and the assets of the plaintiff were invaded and

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 1

 

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 2 of 41

stripped by the courts of the two counties identified above, and did so based on fraud
and conjecture, although neither court ever obtained personal jurisdiction over the
plaintiff. The plaintiff never appeared in the action prior to judgment and when the
plaintiff sought a remedy, the superior court ruled that the plaintiff had no standing
because it was not a party to the underlying action. When questioned as to how the
court could strip the assets of a non-party without notice or personal jurisdiction, it
was admitted in open court that they did the same “all the time.”

1.2 Plaintiff asserts that the actions of Cowlitz and Wahkiakum judiciary is
subject to their control and that, the defendants knew or should have known the
common course of action within their courts, and failed to properly supervise and
ensure, there judiciaries acted in compliance with the rights secured to plaintiff under
the Bill of Rights and the Constitution of the United States.

2.0 PARTIES

2.1 Jones Pacific Maritime, LLC, D-U-N-S Number 079519395, is a
Washington Limited Liability Company, whose address is 529 SR 409, Cathlamet,
Wahkiakum County, Washington.

2.2. Wahkiakum County Inc., D-U-N-S number 195460274, is in
Skamokawa, Washington, United States, and is part of the US Municipal

Governments Industry. Wahkiakum County Inc has 207 total employees across all its

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 2

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 3 of 41

locations. There are 11 companies in the Wahkiakum County Inc. corporate family,
including the Wahkiakum County Courts.

2.3. County of Cowlitz, D-U-N-S number 081976292, is in Kelso, WA,
United States and is part of the US Municipal Governments Industry. County of
Cowlitz has 847 total employees across all its locations and generates $79.38 million
in sales (USD). There are 38 companies in the County of Cowlitz Inc. corporate
family, including the County of Cowlitz Courts.

3.0 JURISDICTION AND VENUE

3.1 Plaintiff raises a federal question under 42 U.S. Code 1983, as the
execution of the policies, customs or usage of the Wahkiakum County and the County
of Cowlitz, Judiciaries in respect to the disposition of property held by distinct
incorporated entities associated with the ultimate disposition of a party to a divorce,
that amounts to the deprivation of rights protected under the Fourteenth Amendment.

3.2 Plaintiff seeks to redress the deprivation, under color of any law, statute,
ordinance, regulation, custom or usage, of any right, privilege or immunity secured by
the Constitution of the United States or by any Act of Congress providing for equal

rights of citizens or of all persons within the jurisdiction of the United States and

jurisdiction is therefore proper pursuant to 28 U.S. Code § 1343(3).

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 3

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 4 of 41

3.3 Plaintiff seeks to recover damages or to secure equitable or other relief

under any Act of Congress providing for the protection of civil rights and jurisdiction

is therefore proper pursuant to 28 U.S. Code § 1343(4).

3.4 Venue is therefore proper pursuant to 28 U.S. Code § 1391(b)(2).

3.5 Federal courts are authorized to hear cases brought under section 1983 28
U.S.C.A. § 1343(3) (1948) and 28 U.S.C.A. § 1331 (1948), to hear cases involving the
deprivation of civil rights, and to hear (all) cases involving a federal question or issue.
Cases brought under section 1983 may therefore be heard in federal courts by
application of (both) jurisdictional statutes.

4.0 STATEMENT OF APPLICABLE FACTS

4.1 Harvey Britton Jones III (hereafter “Jones’’) bought the antique motor
vessel Chesapeake in 2004 to develop a business for his retirement, Chesapeake
Charters DBA, which was formed as a sole proprietorship that year. The MV
Chesapeake was not seaworthy at that time. Jones was a professional Ship Wright and
had been so for several years before acquiring the MV Chesapeake.

4.2 In January 2009 Jones married and thereafter, elected to work for one of
his former employers, Crowley Maritime. The MV Chesapeake began to suffer from a
lack of maintenance after that time.

4.3 In 2012, Jones changed employers to work for the Native Tribe of
Naknek. The Native Tribe of Naknek (hereafter “Naknek”) was greatly disorganized

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 4

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 5 of 41

in how they managed their employees, and Jones struggled to be paid from Naknek
through 2013.

4.4 During this time, Jones took out (personal loans) to finance a state chattel
lien for missing wages against Naknek in September 2013, and in March 2014.
Naknek forfeited the chattel to Jones at auction, and thereafter in March of 2014, more
(personal loans) with contracts and mortgages were obtained (by Jones) to start Jones
Pacific Maritime LLC, the successor-in-interest to the sole proprietorship Chesapeake
Charters DBA.

4.5 In September 2014, Naknek sued (Jones personally and Jones Pacific
Maritime LLC) in Admiralty, for using state law to conduct a chattel auction. The
MV Chesapeake was damaged soon after.

4.6 In September 2015, a settlement was reached in Jones’ favor and Naknek
agreed to compensate Jones for back wages in the amounts of $161,000 delivered by a
signed receipt for all wages owed paid in full, and $339,400 for damages secured by a
First Preferred Ship Mortgage made on November 17, 2015, and filed on November
24, 2015, by Naknek in favor of Jones Pacific Maritime LLC. The amounts due were
paid to the trust account of Holmes Weddle & Barcott in 2016. (Attached hereunto,
Preferred Ship Mortgage.)

4.7 In March 2016, a Bayliner boat, renamed the MV Santa Cruz was

purchased by Jones using funds from the Chesapeake damage settlement from Naknek

- USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 5

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 6 of 41

to Jones Pacific Maritime LLC (hereafter, “JPM”’) for business purposes and to assist
the voyage of the damaged MV Chesapeake back to Cathlamet, Washington. The
transfer of the vessels into JPM began at that time. Prior to transporting the MV
Chesapeake to Washington, Jones began surveying for repairs of the MV Chesapeake
and the MV Santa Cruz in Alaska in March through April 2016.

4.8 In May 2016, Jones paid off the mortgage on his home in Cathlamet with
funds from the back wages award in the amount of $84,696.

49 Soon after, Jones left to return to work in Alaska. With Jones in Alaska,
Jones’ wife moved to secure a protection order in Wahkiakum County and caused
Jones to be served in Alaska. Jones then returned to Cathlamet to challenge the
veracity of the allegations made in support the issuance of that order. While there,
Jones could not obtain JPM's files and records however, paid his accountant in
advance to prepare its taxes. (Attached hereunto Declaration of Accsell Accounting
Inc.).

410 Then, on July 14, 2016, Jones’ wife, improperly filed for divorce and a
restraining order in Cowlitz County, a county in which neither party resided, and
which consequently had no jurisdiction. As part of the Restraining Order, to keep
Jones from accessing JPM's shop and property at the marital residence, the Court also

Ordered, the last settlement payment of $100,000 due JPM from Naknek to be seized.

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 6

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 7 of 41

4.11 Following the improper filing for divorce in Cowlitz County and the
seizure of the Naknek settlement funds, Jones’ wife properly filed for divorce in
Wahkiakum County, on September 1, 2016.

4.12 Atno time was Jones Pacific Maritime, LLC ever named as a party in
either action: Jones v. Jones, Cowlitz County Cause Number 16-3-00463-1, or
Wahkiakum County Cause Number 16-3-00859-6, nor was Jones Pacific Maritime,
LLC ever served process, a summons, nor any other form of pleading in either action.

4.13 During the course of the Wahkiakum case, the Court freely dipped into
the discreet and separate accounts of Jones Pacific Maritime, LLC, dividing funds
from the account with the lawyers for the parties over Jones’ objection, and ultimately
by final order of October 22, 2018, disposed of the entire amount of all of the
accounts, disposed of the MV Chesapeake and the MV Santa Cruz by judicial fiat, and
awarded by means of a forfeiture clause the entire marital estate to Jones’ wife, and all
of the shop, shipwright tools, supplies, and equipment, belonging to JPM. (Attached
hereunto, Affidavit of EZ Move a moving service company.)

4.14 When challenged by motion for reconsideration in August 2019,
concerning the disposition of the assets belonging to Jones Pacific Maritime, LLC, the

trial court ruled that because Jones Pacific Maritime, LLC

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 7

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 8 of 41.

was not a party, it had no standing to raise the motion. (Attached hereunto, Certified
Transcript.)
5.0 STATEMENT OF CLAIMS

5.1 The Courts of Cowlitz and Wahkiakum Counties, which operate
respectively on behalf of the County of Cowlitz, Inc. and Wahkiakum County, Inc.,
commonly invade the assets of privately held corporations, when such corporations
are owned all or in part by men who are being divorced in Wahkiakum or Cowlitz
County's without obtaining personal jurisdiction.

5.2. Both Cowlitz and Wahkiakum Counties turn a blind eye to these
systemic practices, and all the defendants knew or should have known that such
practice is prohibited by applicable law and, long-standing rights of due process
protected under the 14% Amendment.

5.3. Both Cowlitz and Wahkiakum County Courts had no jurisdiction over
the property of a non-party. Jurisdiction means the power to hear and determine.

5.4 JPM was formed in May 2014, two plus years before both court actions.
It was the successor-in-interest to Chesapeake Charters, and was assigned the assets of
Chesapeake Charters, which consisted of the MV Chesapeake, shipwright tools, ship
repair supplies, and related equipment, and which held all right, title and interest to.the
damages awarded from the Naknek settlement, $339,000, + from which the MV Santa

Cruz was purchased.

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 8

 

 
Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 9 of 41

5.5 The Orders issued by Cowlitz County and the Orders and Decree of
Dissolution issued from Wahkiakum County, were void, because they violated the due
process rights of JPM by distributing the assets of JPM without JPM every being a
party to those actions, or without any discussion of piercing the corporate veil.

5.6 Because neither court had jurisdiction, the orders as to the assets of JPM
were at all times, void.

5.7. There is no record whatsoever of any attempt to serve or join JPM to
either Jones v. Jones cases in Cowlitz or Wahkiakum counties. Nor did JPM ever
appear or defend in either action, as Jones personally is prohibited by law from
representing a corporation of which he is the owner, when he is not licensed to
practice law.

5.8 JPM is the entity which rightfully held the Title of Documentation to both
Vessels, the MV Chesapeake and the MV Santa Cruz, and which had all right and title
to the damage settlement of $339,000 dollars, all which was unlawfully redistributed
by the Cowlitz and Wahkiakum County Judiciary, without personal or subject matter
jurisdiction.

5.9 Because the judgment as to all the assets belonging to JPM is void, the
distribution of these assets has damaged Jones Pacific Maritime LLC in the amount of

$339,000 dollars, plus the replacement value of the MV Chesapeake, the MV Santa

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 9

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 10 of 41

Cruz, the shipwright tools, supplies, and associated equipment, and the outstanding
debt that was and is, attributed to Jones Pacific Maritime LLC.

6.0 CAUSES OF ACTION
(US Constitutional Claim)
6.1 The Cowlitz and Wahkiakum Counties, through their judiciary, seized,

removed, caused to be sold, and redistributed cash and assets belonging to plaintiff
JPM and did so in violation of Federally Protected due process standards of the
Fourteenth Amendment. See Nelson v Adams USA Inc., 529 US 460 (2000), see also,
Native Village of Naknek v Jones Pacific Maritime, LLC, et al., 141 F.Supp.3d 1157
(2015).

6.2 The practice of violating the rights of corporate entities in divorce or
dissolution proceedings is the common practice of both County judiciaries and is done
with the knowledge of the defendants.

6.3 The County of Cowlitz, Inc. is liable for all damages created by the
County of Cowlitz judiciary because of its deliberate indifference to the rights of
persons subjected to their actions.

6.4 The Wahkiakum County, Inc. is liable for all damages created by the
Wahkiakum County judiciary because of its deliberate indifference to the rights of
persons subjected to their actions.

PRAYER FOR RELIEF

(US Constitutional Claims)
USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 10

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 11 of 41

WHEREFORE, Plaintiff Jones Pacific Maritime, LLC prays for the following
relief:

° For an award of damages from the defendants in the amount of
$339,000.00 together with statutory interest from the date of the transfer of the
money from the rightful possession of Jones Pacific Maritime, LLC to any other
person or entity.

° For an award of damages from the defendants in the amount of the
replacement cost of the MV Chesapeake.

° For an award of damages from the defendants in the amount of the
replacement cost of the MV Santa Cruz.

. For an award of damages from the defendants in the amount of the
replacement value for the shop, shipwright tools, equipment and supplies.

° For an award of damages from the defendants in the amount of the
outstanding debt caused by seizure of JPM's settlement.

° For punitive damages in an amount sufficient to deter the County
of Cowlitz from failing to supervise their corporate company, Cowlitz County
Court's in its ongoing practice of violating the due process rights of entities over

which it asserts control.

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 11

 

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 12 of 41

° For punitive damages in an amount sufficient to deter Wahkiakum
County from failing to supervise their Corporate compony, Wahkiakum County
Court's in its ongoing practice of violating the due process rights of entities over
which it asserts control.

° For all other relief, whether legal or equitable, which this court

may find applicable.

Respectfully submitted this /7_day of Sepfem ber 2021.

assey Goat.
arvey BSJones

President, Jones Pacific Maritime, LLC

Verification, Certification, and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
best of my knowledge, information, and belief that this complaint: (1) is not being
presented for an improper purpose, such as to harass, cause unnecessary delay, or
needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely
have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

 
   
   

7 Sioned in an casver ,WA 9 //¥ /2021.

Harvey Britton Jones, III

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 12

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 13 of 41

EMAILED Batch #: 32126900 / Doc #: 9 / File Date: 11/24/2015 4:48:00 PM

PREFERRED STP MORTGAGE

Dated as of November 17, 2015
made by
NAKNEK NATIVE ¥ILLAGE

P.O, Box 106
Naknek, Alaska 99633

Martgagor

in favor of

JONES PACTVIC MARITIME, LLC
529 State Read 469
Cuthlamet, Washington 9612

Lender
Vessel : E/V SEADGORSE, G.N. 292012
Mortgagor: NAKNEK NATIVE VILLAGE
Mortgagor’s Interest
in the Vessel: 100%
Interest in the
Vessel Morigaged
Hereunder: [00%
Lender: JONES PACIFIC MARITIME, LLC
Amount of Mortgape: $338,400.00 U.S. Dollars as coniemplated

By Title 46 Section 31321(6)@)
Case 3:21-cv-05677-BHS Document 1 .Filed 09/14/21 Page 14 of 41

IN THE UNITED STATES DISTRICT COURT
WESTERN DIVISION OF WASHINGTON

 

JONES PACIFIC MARITIME, LLC, a
Washington Limited Liability Company,

NO.

Plaintiff, DECLARATION OF
CAROLYN OLSEN
WAHKIAKUM COUNTY, INC., the
SUPERIOR COURT OF WAHKIAKUM
COUNTY, the COUNTY OF COWLITZ,
INC., and the SUPERIOR COURT OF

COWLITZ COUNTY,

Defendants.

ee

 

Declaration of Carolyn Olson in support of Jones Pacific Maritime LLC

I, Carolyn Olson, being of the age of 18 years and legally competent to
testify to the matters set forth herein, with personal knowledge of the same, now,
subject to the laws of perjury in the State of Washington as enforced in Clark
County, Washington, do declare as follows:

I am an accountant and own Accell Accounting Inc. located at 11115 NE
14th St. Suite 103, Vancouver WA. 98684. I have prepared tax returns for Harvey
Jones and his companies including Jones Pacific Maritime LLC and its predecessor

in interest since 2010.

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 1

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 15 of 41

On or about June 13, 2016, Harvey Jones was in my office discussing the
need to get his companies tax returns in order for the years 2015 & in preparation
to file for 2016, along with his personal returns for 2015. This was in regard to a
settlement that was part of the discussion on that day. My estimate was that it
would cost around $3,000 to prepare the filings for 2015 and during the corse of
that meeting I received a payment of $5,000. As I recall, that payment was to
insure the total cost of preparation for filing would be covered. I have seen the
bank statement record of that payment to Accell Accounting on or about the day of
that meeting.

As it happened; I have provided under oath by affidavit, to the validity of
circumstances that followed.

First; there was a need to get a court order to have all of the
companies records and files delivered to my office. That instance resulted in
my affidavit as to the condition of those files when delivered.

Second; I was asked to sign another affidavit that I notified Harvey
concerning the amounts due for the extra work preparing both 2015 & 2016
returns and the amounts then due for those years, to present to the court to
get money from Jones Pacific Maritime LLC out of the courts sequestered
account and pay those bills.

I also testified in his divorce trial, as to the missing files and need to declare
all of the settlement award as income for that reason.

It should be noted that the result of the first payment and variance thereafter,
to include the hours involved with the various attorneys, that, Jones Pacific

Maritime, paid a total of $21,000 plus for the return preparations, for the years

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 2

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 16 of 41

2015 & 2016. and associated trial testimony.

After that I also provided yet another affidavit for Jones Pacific Maritime
LLC, for a related court.

This affidavit is for the purpose of identifying the original agreement with
Harvey Jones, the payment made on that original agreement, at that time, (6, 13,
2016 ). And also; to identify other related affidavits I have personally provided
for Harvey Jones, Jones Pacific Maritime LLC and for his ex-wife's attorney to
get the money from the court for payment and taxes due.

Signed this day of September [xf 2021 at my office 11115 NE 14th
St. Suit 103 Vancouver Washington, County of Clark.

a

Carolyn Olsen

USDC WAWD Jones Pacific Maritime, LLC v. Wahkiakum County, Inc. - 3

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 17 of 41

STATE OF OREGON )
) ss
COUNTY OF CLATSOP _)

I, Che Auditor, being over the age of 18 years and legally competent to testify to matters
set forth herein, with personal knowledge of the same, now declare on oath and subject to the
laws of perjury in the State of Washington, as follows:

I am the owner of EZ Move, a multi service moving company located and working out of
Astoria Oregon and surrounding areas.

In 2018 I was contracted by Mr. Harvey B. Jones to move a variety of shop equipment,
an aircraft, a 22-foot aluminum boat with no trailer and another pleasure boat on its own trailer,
three roller cabinet tool chest full of tools, other cabinets full, a 16 foot by 30-foot storage room
attached to his shop full of food, medical and camping supplies along with a multitude of
machinery, power tools, parts and associated supplies including but not limited to a few thousand
pounds of chains, binders, winches, hoists, custom work benches, shelving and a partially built
paint booth all of which, was assembled with large bolts and fasteners.

The court order also listed a number of handguns, rifles and shotguns along with their
associated anomalies both antique and more modern types.

I was informed by Mr. Jones that because of his divorcing wife's actions he could not
have possession of his own firearms and was required by the court to have his designated person
retrieve and keep them for him at that time. Due to that I was introduced to his representative
that was going to assist with the moving project and he accompanied me and my assistant to Mr.
Jones shop to photograph, inventory and provide Mr. Jones with a more accurate estimate for

moving his property.
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 18 of 41

With my understanding of the total amounts, weights and labor disassembling his work
benches, shelving paint booth and machinery along with using two moving vans and extra
personnel, to relocate the property from his shop approximately 1800 feet to the local storage,
my initial estimate was about two day’s work and between 3 to 5 thousand dollars for the labor.

It required about two weeks to finally make contact with Ms. Jones and then wait for the
day she said I could see the property that was to be moved. That is and always has been my
business practice, to get an actual on sight inventory with photography for exceptional and heavy
things, before providing a solid bid on a relocation job. And my contact with Ms. Jones was clear
on that point.

1 arrived at the residence with Mr. Jones representative, Mr. Paddock and my assistant to
retrieve Mr. Jones firearms and organize my moving inventory.

When I arrived at the shop residence, I introduced myself and associates. Ms. Jones, a
younger woman I understand is her daughter, Tiffany, and a small-man I understand is her
husband Hester, who had been using Mr. Jones shop during his absence were there together.

Ms. Jones and her daughter almost immediately began verbally attacking Mr. Paddock
and with terrible insults and literally drove him away and he departed. It was incredibly
embarrassing to witness. Although the small man never spoke a word in English, he remained
close at hand, intently observing everything me or my assistant tried to do to accomplish why we
had come there in the first place.

After that I attempted to get my inventory moving plan, but I was physically blocked by
Ms. Jones’ daughter, no matter which way I turned, and she told me that she was a witch and that

she would put a hex on me and Harvey if I did anything to help him.
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 19 of 41

It was clear Ms. Jones was agitated and very clear she intended to not let several articles
on the list I had with me be moved. For example, some of the large roller tool chest full of tools,
the paint booth some equipment and other things. Her daughter repeatedly claimed ownership of
the property wile ordering us to get out and literally stopped me from moving in any direction by
placing herself, directly in front of me spouting off hellish language at me and my assistant and
forbade us from photographing anything.

In all my business years, having relocated personal property of all types, several times for
individuals going through separation by court orders and by mutual agreements, even when
disputes arose over certain items. I have never felt the intimidation and threat that was present
during the time I was at Mr. Jones shop.

I was not allowed to even see the storage area attached to the shop at all. But as I was
leaving, due to the fact J could not do my job, Ms. Jones brought out a couple of Mr. Jones
heirloom firearms. One being his Great Great Grandfathers Civil War weapon and gave them to
me. |

In my opinion, Ms. Jones did that with the express intention of creating a violation of the
court order and involve me in a crime situation. I say this because within the hour, I got a call
from the local sheriff's asking me if I had given my client Mr. Jones, his inherited firearms. I
informed the deputy that called me that I had not and had what Ms. Jones had given me in my
possession. Again, not long after the first call, I was called again and because of another report,
had to explain the situation with my client, that he had previously informing me of the situation

his wife had crated concerning possessing his personal firearms, and what had taken place while

I had attempted to get my inventory. The officer was satisfied that nether I or my client had

violated the court order and that was the last I heard from them.
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 20 of 41

I have previously written out a statement for Mr. Jones about the circumstances I
witnessed trying to organize moving his equipment for him when he was going back to court to
try recovering his property. But that was before I learned about several things that resulted from
my encounter with Ms. Jones and her family.

Within the week of my attempted inventory I was notified by Better Business I had been
reported for doing bad and unethical business and my business ratings had suffered a
considerable blow as a result. It took a lot of effort to try undoing some of the damage that had
been done to my business. And if that were not enough, I found that several websites that rate
businesses had also posted derogatory and incriminating comments about my business EZ Move.

What was done to me and my good name was uncalled for and caused me a lot of stress
and work trying to correct everything that had been reported about me and my business name.

As a result of what was done to hurt my compony and good name, it was evident that I
could not be involved moving my clients property and for the first time in my life doing
business, I had to renege on my agreement to assist Mr. Jones relocate his shop equipment. It
was just to much of a volatile situation and not worth the risk of further damage to my business
and good name.

Scpembcr

Signed in Astoria, Oregon this /9_ day of Bebruary 2020.

Che Auditor sl4n cof 2. 3 0 Pr

STATE OF OREGON ) ad Segger "sfycand 7 Anu 4, Or,
) ss
COUNTY OF CLATSOP )

On this day Che Auditor personally appeared before me; and he is known to me to be the individual
described in and who executed the foregoing instrument and acknowledged that he signed the same
as his free and voluntary act and deed, for the uses and purposes herein mentioned.
10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 21 of a1

IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON

IN AND FOR THE COUNTY OF WAHKIAKUM

 

In re the Marriage of: )

SHERRIE DIANE SMITH, ) Cause No. 16-3-00859-6
Petitioner, )

and )

HARVEY BRITTON JONES, III, )

Respondent. )

 

HEARING
The Honorable Donald J. Richter Presiding

September 23, 2019

 

TRANSCRIBED BY: Angela Dutenhoffer, CET
Reed Jackson Watkins, LLC
Court-Approved Transcription

206.624.3005

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Documenti1 Filed 09/14/21

APPEARANCES

On Behalf of Petitioner:
MEGAN ELAINE GILMORE
Falkenstein Zandi PLLC
950 12th Avenue

Suite 100

Longview, Washington 98632

On Behalf of Respondent:
Stephen W. Pidgeon
Attorney at Law

1523 132nd Street Southeast
Suite Cc

Everett, Washington 98208-7200

Page 22 of 414

 

 
10

il

12

i3

14

15

16

17

18

i9

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 23 of 41°

-o00-

September 23, 2019

THE COURT: Good morning.

MS. GILMORE: Good morning.

MR. PIDGEON: Good morning, Your Honor.

THE COURT: This matter comes on -- well, we'll start with
16-3-00859-6. This comes on for Mr. Jones' motion to vacate
the judgment.

I have read the motion to vacate and I've read the
response. And then there was a motion to strike
declarations. Do we neéd to hear whether or not to strike
before we do the main motion?

MS. GILMORE: I'm happy to address my formal objection. I
did file that along with our response. And I did detail the
exhibits and the testimony that was then provided at trial.
I think that that is precluded from being included now at
this motion. I do ask the Court to strike them from the
record or from considering today's motion.

THE COURT: Any response to that, sir?

MR. PIDGEON: Yes, Your Honor. This motion that we've
brought, Your Honor, comes on two provisions under CR 60(b).
One is CR 60(b) (5), judgment to vacate on the basis that the
judgment was void and on the basis of CR 60(b) (11), which is

other miscellaneous reasons.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 24 of 414

The bulk of the exhibits -- in fact, all the exhibits have
been presented not to substantiate the equitable argument
under CR 60(b) (11), but rather to substantiate the argument
under CR 60(b) (5) that the judgment is, in fact, void.

And given the fact that this case could affect the heart
of the matter, I think, before the Court is what's missing
in this case. What's missing in this case is any naming of
Jones Pacific Maritime as a party.

There's no summons. There's no petition. There's nothing
on file. And, yet, the decision of the Court was to
distribute the assets of Jones Pacific Maritime, including
assets such as the maritime vehicle the Santa Cruz and the
maritime vehicle the Chesapeake. Those assets are under the
exclusive and original jurisdiction of the United States
District Court.

And so the exhibits that have been placed here both with
Carolyn Olson's exhibits and the exhibits in Mr. Jones!
declaration are placed before the Court for purposes of
substantiating the CR 60(b) (5) motion.

THE COURT: All right.

MS. GILMORE: And, your -- sorry.

THE COURT: Go ahead.

MS. GILMORE: And, Your Honor, he was represented by four
very competent counsels throughout this process and

represented by counsel at trial. None of these exhibits

 

 
10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 25 of 419

were submitted within -- at trial. And, more importantly,
weren't submitted through discovery. The reason why the
substantial sanction took place under the Court's ruling was
because he violated severely Washington State and local
court rules regarding discovery. So at this point he
shouldn't have the opportunity to retry the case with the
information. This is the same documentation that he
attempted to provide to the Court at Judge Goelz's home and
that was already denied. This is new evidence that
shouldn't be considered.

MR. PIDGEON: I'd like to respond --

THE COURT: So --

MR. PIDGEON: -- to that, Your Honor.

THE COURT: -- I'm going to make a ruling.

So as to the evidence under CR 60 void, my understanding
it is based mainly on a jurisdictional argument and the
Court not having jurisdiction over those items. That's
something that can't be brought. And the evidence that is
submitted will be solely used for that purpose. It will not
be used for any sort of motion for reconsideration or
argument as far as the equitable distribution of the assets
because that is not an appropriate issue for this Court to
delve into with new evidence.

All right. With that understanding, I intend to have ten

minutes per side.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

29

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 26 of 41°

Sir, would you like to reserve any of your time for
rebuttal?

MR. PIDGHON: Yes, I would, Your Honor. I would like to
reserve five minutes for rebuttal.

THE COURT: All right.

MR. PIDGEON: Let me known when you're prepared to start,
Your Honor.

THE COURT: Sir, you have five minutes. You may begin.

MR. PIDGEON: Thank you, Your Honor.

Your Honor, may it please it the Court, Stephen Pidgeon,
who is appearing on behalf in a limited basis on behalf of
Jones Pacific Maritime and also on the basis of full time
for Harvey Jones in this matter.

We brought a motion to vacate the judgment in particular
in regard to the assets being held by Jones Pacific
Maritime; assets that were in the possession of Jones
Pacific Maritime before this action was filed on September
Ist, 2016. It's very critical, I think, to this Court's
consideration that some of the assets; i.e., the maritime
vessel Chesapeake and the maritime vessel Santa Cruz are
under the exclusive jurisdiction of the United States
District Court, pursuant to constitutional provisions, which
have granted that.

Of course, there is a Coast Guard registry that

substantiates both the ownership and the quality of the

 

 
10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 27 of 417

vessels that were here.

And so when I look through the record -- and I went
through the entirety of the record -- I saw no evidence
whatsoever that there was any attempt to serve or to join
the party Jones Pacific Maritime, LLC. But, instead, there
were willingly many orders that dipped into the assets of
that LLC.

In addition to that, what we have provided before the
Court, as part of the exhibits, is the Naknek settlement.
The Naknek settlement is quite specific in its delineation
in terms of -- first of all, Harvey Jones and Jones Pacific
Maritime remained as parties in that. And the settlement
does -- contrary to the provision set forth by opposing
counsel, there is a specific delineation as to what money
was paid for back wages and what money was paid for damages
to the MV Chesapeake. And that's very quite specific.

Now, also, Counsel has made representation that Mr. Jones
was represented by competent counsel during this trial. My
review of the case shows something quite to the contrary
that, in fact, the discovery sanctions were piling up
against him because Counsel flat refused, it's my
understanding, to provide the documents to the Court that
Mr. Harvey had provided to his counsel -- or Mr. Jones had
provided to Counsel. So I take issue that he was

competently represented.

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 28 of 418

However, we put forward a body of -- a body of authority
here inside the brief demonstrating that, in fact, original
jurisdiction is had in the United States District Court of
maritime assets.

And, in fact, opposing counsel, in her response to this
motion, brought forth the judgment concerning the SEAHORSE,
an asset not part of this litigation, but it was a judgment
made by Benjamin Settle in the United States District Court
for the Western District of Washington in Tacoma, and --
which we believe is appropriate.

So, aS a consequence, we have a very serious issue here.
And the seriousness of the issue is, is that two boats were
transferred without the party being named as part of this
action. In my view, it's a gross violation of due process,
protected under the United States Constitution and of a
gross violation of constitutional provisions governing
jurisdiction. As a result, we do believe that any judgment
concerning the assets of Jones Pacific Maritime is a void
judgment. Personal service did not attach, nor did subject
matter jurisdiction.

Now, Counsel has made hay about International Shoe about
whether or not there's minimum contacts and so forth.
Minimum contacts is -- does not establish jurisdiction. It
is a provision that allows for jurisdiction from minimum

contacts, but jurisdiction, pursuant to Washington statutes,

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 29 of 41°

requires the service of a summons and complaint, which never
happened.

And, furthermore, there was no counsel representing Jones
Pacific Maritime during -- at any point during the trial.
Mr. Jones cannot represent Jones Pacific Maritime. He's
prohibited. You have to be an attorney to represent a
limited liability company. He's not. He couldn't do it.
There was no counsel here. He couldn't waive. If he had
Waived, he can't do it on behalf of Jones Pacific Maritime.

Therefore, there's no representation that has been made
before the Court by Jones Pacific Maritime prior to this
hearing. And, therefore, we're respectfully asking that the
Court vacate the judgment as to all of the assets of Jones
Pacific Maritime. And we have provided the Court with
findings of facts and conclusions of law and a proposed
order.

Thank you, Your Honor.

THE COURT: All right, Counsel. You have ten minutes.

MS. GILMORE: Thank you. For the record, Megan Gilmore on
behalf of the petitioner and nonmoving party, Sherrie Jones,
now Smith.

Again, we do detail for you in our declaration first the
motion to reconsider and the motion to vacate. We do argue
for the Court that Counsel is asking the Court to do both.

Rather than within a vacate, he is asking to reconsider.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 30 of 4119

Just detailing kind of the history of this case, this case
went to trial in July of 2018. The Court made a ruling and
the final orders were entered in October. The husband then
filed a motion te reconsider on October 30th, 2018. That
motion was denied by this Court. He then filed a notice of
appeal on November 20th, 2018, which was later dismissed
based on his own motion.

Asking the Court then to reconsider a previous ruling
denying reconsideration, this Court doesn't have authority
to do and would be better addressed in the appellate court.
However, that now has been dismissed. We ask that the
motion to reconsider is obviously denied.

Looking to the motion to vacate, Counsel has detailed that
he does ask for a motion to vacate under two theories:
first, 60({b) (5) and 60(b) (11). First looking to
CR 60(b) (5), we detail for you the facts of this case, as
well as the case relevant to this. Your Honor has obviously
reviewed, that so I won't go into too much detail. However,
we do argue that this -- the judgment presented by the Court
was not void, as explained within the case law. Judgment is
void if the Court lacks personal or subject matter
jurisdiction over the case. The Court has personal
jurisdiction over the parties in this case, as they are
residents of the State of Washington and married in the

State of Washington.

 

 
Case 3:21-cv-05677-BHS Document1 Filed 09/14/21. Page 31 of 4111

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Within my memorandum of law, I go as far as explaining to
the Court that a marriage is between two people. So if this
included every case that included a business, it would need
to be named, provided a summons of petition. That would be
happening on a regular, if not everyday basis, and it just
isn't.

The Court has subject matter jurisdiction over this
marriage and the dissolution of that through RCW 26.09.
Again, a marriage is between two people.

As, and explained to you within the declaration, this
business was created by the parties during the marriage.

For the purposes of Washington State business licensing,

Mr. Jones is the sole owner. Because Washington State is
community property, these people both owned that business.
The wages and back wages that were subject to that
litigation were community assets, and the damages therein
were community assets and divided properly by this Court.
There is no reason that this Court doesn't have jurisdiction

and the judgment should be void in this case.

We ask the Court to deny the Court's -- excuse me -- deny
the respondent's motion as regards to 65 -- excuse me --
60 (b) (5).

Next, looking at 60 -- or -- 60(b) (11), this is a catchall

provision. We do explain to the Court in my review of case

law, this is typically applied to defauit judgments and

 

 

 
10

1i

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 32 of 4114

service by publication. This is a substantial catchall that
is only in circumstances that are extraordinary.

The ruling in this Court was fair and equitable, and the
ruling explains it based on itself. The husband was awarded
$50,000 of assets and given a 90-day period to exchange
that. He then did file a motion for a contempt. That
deadline was extended another six weeks to March. There was
a review hearing set. The parties did agree that a certain
person would be moving the assets and the dates that those
would be transferred.

The respondent continued to cause issue, and the Court
found that based on the decree that had been previously
entered by this Court, that the -- Mr. Jones had forfeited
the property and that it would be in my client's petition.

We do ask that the Court deny any sort of motion for
reconsideration, motion for vacating. And we do ask the
Court award substantial attorney's fees in this case. My
client details for you what's been going on since the trial
took place and even before that. We were before the Court
multiple -- on multiple motions because assets weren't being
paid because discovery wasn't being exchanged even after
trial.

MR. PIDGEON: Your Honor, I want to object at this point.
I don't know how this is relevant to our motion today if

we're going to revisit the entire past procedural history of

 

 

 
10

11

12

13

14

15

16

1?

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 33 of 4113

the case. There's been nothing that's been going on at all
Since this motion was brought. I just don't see how that's
relevant to this motion. So I'm objecting on the basis of
relevance.

THE COURT: I understand the objection. She can spend her
ten minutes in argument the way she wants to spend it. And
I will delve between what's relevant for today and what's
not.

You may continue.

MS. GILMORE: Even after the Court entered the decree, the

husband then filed -- or sent to the judge personally to his
home various documents. I then had to respond to those
documents. We responded to motions for reconsideration. My

client then had to retain new counsel for an appeal and then
that appeal was eventually dismissed. And then roughly
three weeks before the deadline ends for a one-year period
for a CR 60 motion, he now brings this, alleging that he --
that the Jones Pacific Maritime didn't receive proper
notice.

In reality, again, he was represented by three to four
counsels throughout this two- to three-year process. They
did not file a motion to dismiss upon receipt of our
petition. They then responded -- or he responded
acknowledging the jurisdiction was proper. At trial he

presented virtually no evidence and made no arguments

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 34 of 4114

regarding jurisdiction. There's no separate third party
here that their rights -- constitutional rights are being
violated. He had obviousiy noticed and the parties had
noticed as a joint community that this was their business
and that it was subject to this dissolution. Jurisdiction
was proper. The ruling of the Court was fair and equitable.

We do believe that the violations were egregious and the
bad behavior has continued on the part of the husband and it
does warrant a substantial award of attorney's fees of
$2,500.

THE COURT: All right, Counsel. You have your five
minutes.

MR. PIDGEON: Thank you, Your Honor.

Your Honor, the net result of the judgment in this case is
that Mr. Jones has received all the debts, and the
petitioner has received all of the assets. I mean, that's
the net result. And the forfeiture provision that was
contained in the final order of that allowed for some kind
of equity to exist prior to the forfeiture. Once the
forfeiture provision was enacted, it became just exactly
that, an entirely inequitable decision. We put all the
debts with Mr. Jones and all of the assets with Mrs. Smith.

One of the things that we point out in our brief,

Your Honor, is that because the house was paid off, there is

a long-standing rule under Washington law that requires an

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 35 of 411°

analysis of how much separate property went into the house.
My understanding is that Mr. Jones paid virtually all of
that, with the exception of the commission that Ms. Smith
picked up when she sold the home to herself as a real estate
agent. And that is also in our brief.

Now, as for the 60(b) (5) motion, it makes no difference
that both parties are located in the state. The fact of the
matter is, is that Jones Pacific Maritime, LLC, an
organization that was intended to be formed in 2014 as a
holding company for separate property -- and I want -- I do
want to point out to the Court that in the Court's final
order of divorce, the Court did declare the MV Chesapeake to
be the separate property of Mr. Jones. It did. They
never -- at no time did the Court find that the Chesapeake
was, in fact, community property.

Given the fact that the Court has long since held and that
there is no chance of appealing that decision now that the
Chesapeake was separate property, it goes back to the Naknek
settlement, which delineated $340,000 in settlement money
for the damages that were done to the Chesapeake, which this
Court later determined was the separate property of
Mr. Jones.

So, aS a consequence, we believe the bulk of the
discussion here on the record does demonstrate that the

Chesapeake was separate property and that the damages from

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 36 of 4116

the Naknek settlement of 340,000 went to the Chesapeake;
that the money that was for back wages was, in fact, spent
on the marital community, and, in fact, even additional
amounts. And, as a result, we do not think that attorney's
fees are warranted here in this particular case.

The 60(b) (5) motion is particular as to whether or not the
judgment is void on its face. And, in addition to that, as
we put in the brief, such a motion can be brought at any
time during the proceedings.

Even if we had passed the one year time for a 60(b) (1),
(2), and (3) motions, a 60(b) (5) motion could be brought at
any time and is subject to de novo review by the Court of
Appeals. So, as a consequence, we do believe that the
motion is timely, and we do believe that the circumstances
in this case do warrant the Court's reconsideration of the
fact that the net result of the judgment in this case has
been highly inequitable. There is no asset on Mr. Jones'
Side of the equation as a result of the forfeiture provision
put forth in the final decree.

And so finally, Your Honor, we do ask that the Court,
number one, vacate the judgment as to the disposition of any
asset belonging to Jones Pacific Maritime, LLC, including
the $340,000 that was from the Naknek settlement, the right
and title to the MV Chesapeake, the right and title to the

MV Santa Clara.

 

 
10

il

12

13

14

15

16

17

18

13

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 37 of 4117

And we are petitioning the Court to reconsider the final
decision. In fact, what we're asking for -- what we've
asked in our pleadings is that the Court reconsider the
judgment just to allow Mr. Jones to get his personal
property back, like his heirlooms, his tools, his family
photos, the watch his grandfather gave him, his personalized
razor that are of no use to Ms. Smith, but that are of high
value to him. And so, as a consequence, we -- that is --
the part of what we're asking for in an equitable change-up
in this decision, Your Honor.

MS. GILMORE: And, Your Honor, I would like to note, I
think the --

THE COURT: No. We're not -- we're not going back and
forth.

So as to the CR 60 motion, based on the assets belonging
to an LLC, and, thereby, the LLC requiring notice and
summons in order to somehow appear in the divorce action,
this Court is unaware how the company has any standing in
the divorce proceeding between the two parties. How the
company would notice in and have any standing in the
dissolution is foreign to this Court.

Now, assets owned by the two parties, including companies,
are routinely distributed in divorce proceedings. And,
again, all property, separate and community, is before the

Court for an equitable distribution during the divorce

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 38 of 4118

proceeding.

So the lack of notice to an LLC that was owned by one of
the parties is not a basis, under this Court's ruling, to
grant a motion to vacate for being void.

As to the discussion that all the assets were given to the
wife and all the debts were given to the husband, this Court
is not going to delve back into the decisions made by the
prior Court during the divorce proceeding. Those decisions
were appealable and could have been handled in the proper
manner to motions for reconsideration, which I believe there
was one, and, also, then filing by prosecution of the
appeal.

As to this Court's decisions, which ultimately resulted in
this Court's decision to finally allow for the forfeiture of
the property after repeated attempts to accommodate the
petitioner -- excuse me -- the respondent getting his
property back from the petitioner, as was allowed in the
previous decree, this Court finds that it made several
attempts to accommodate the difficulty that was expressed by
the respondent in getting his property back, and had several
hearings, which included evidentiary hearings. Movers,
affidavits, and declarations convinced this Court that the
respondent was now using that process to abuse Petitioner,
which led to its decision to terminate, after given several

opportunities to reclaim that property and to forfeit the

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document1 Filed 09/14/21 Page 39 of 4112

property according to the Court's previous ruling.

As to the idea that it's somehow inequitable what happened
in this case, the result, looking at its face, without the
history of the case, might be confused when considered in
that lighting.

However, any inequity that resulted from this case, this
Court finds, is a direct result of the behavior of the
respondent. And the forfeiture, such as it was, was allowed
finally when it became clear to the Court that the
respondent was using that process to punish the petitioner.

This motion resulted in significant work and response,
again, from the petitioner. The Court will award $1,000 in
attorney's fees for having to respond to this motion.

This Court is aware that this may be an appealable
decision and will make any other findings the parties feel
necessary to accommodate that process.

MR. PIDGEON: Thank you, Your Honor.

THE COURT: Thank you.

MS. GILMORE: Is the Court setting a timeline in which
those attorney's fees need to be paid?

THE COURT: Sixty days.

MS. GILMORE: And I can prepare an order with a judgment.

THE COURT: If you need a presentment, you can note it up;
if not, I'll sign the order ex parte.

MS. GILMORE: Okay.

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21 Page 40 of 412°

THE COURT:

MS.

Bring it up, Counsel.

GILMORE: Thank you.

(September 23,

2019 hearing concluded)

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 3:21-cv-05677-BHS Document 1 Filed 09/14/21. Page 41 of 4121

CERTIFICATE

STATE OF WASHINGTON }
) ss

COUNTY OF KING )

I, the undersigned, do hereby certify under penalty
of perjury that the foregoing court proceedings were transcribed
under my direction as a certified transcriptionist; and that the
transcript is true and accurate to the best of my knowledge and
ability, including any changes made by the trial judge reviewing
the transcript; that I received the audio and/or video files in
the court format; that I am not a relative or employee of any
attorney or counsel employed by the parties hereto, nor

financially interested in its outcome.

IN WITNESS WHEREOF, I have hereunto set my hand this

22nd day of October, 2019.

Angele Dito pyer

Angela Dutenhoffer, CET

 

 

 
